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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA

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                              )
IN THE MATTER OF THE          )
APPLICATION OF JASON LEOPOLD )
TO UNSEAL CERTAIN ELECTRONIC )        Misc. Action No. 13-712 (RWR)
SURVEILLANCE APPLICATIONS AND )
ORDERS                        )
______________________________)



                                 ORDER

     Plaintiff has filed a petition to unseal certain records

related to electronic surveillance devices and stored

communications.   Accordingly, it is hereby

     ORDERED that the government shall have 30 days from the date

of the issuance of this order to file an opposition, if any.         The

Clerk is directed to serve a copy of this Order on the Chief of

the Special Proceedings Division of the United States Attorney’s

Office.

     SIGNED this 23rd day of August, 2013.



                                           /s/
                                 RICHARD W. ROBERTS
                                 Chief Judge
